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                              DECLARATION OF PHILLIP GREEN

          1.     I, Phillip Green, declare as follows:

          2.     I am President and CEO of Green Powered Technology, which is a member of the

Small Business Association of International Companies.

          3.     Green Powered Technology is a veteran-owned small business specializing in

technical and advisory services focused on energy and infrastructure. As of January 19, 2025, the

company employed approximately 100 people worldwide, including 40 employees in the United

States.

          4.     Since the foreign-assistance funding freeze, the company has undergone three

rounds of layoffs, furloughs, and terminations that have reduced our workforce to 18 people.

          5.     Without payment this week, we will be forced to close our doors due to

insolvency, with only the owner around to collect outstanding payments.

          6.     Unfortunately, we have active federal contracts that we can no longer fulfill and

will be unable to continue servicing them. As a result, we will not be able to perform on them

and have to walk away from them.

          I declare under penalty of perjury that the foregoing is true and correct.

          Signed this 24th day of February, 2025, in Arlington, Virgina.



                                                         ___________________________________
                                                         Phillip Green
